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DIAMOND BAR CATTLE COMPANY,
a New Mexico Partnership; and

LANEY CATTLE COMPANY,
a New Mexico Partnership,

PLAINTIFFS,
V.

UNITED STATES OF AMERICA;
DAN GLICKMAN, Secreta.ry of the
United States Department of
Agriculture; and

JACK WARD THOMAS, Chief of the
U.S.D.A. Forest Service,

DEFENDANTS.

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PLAINTIFFS' ORIGINAL PETITION FOR
DECLARATORY RELIEF

 

COMES NOW Plaintiffs, DIAMOND BAR CATTLE COMPANY, a NeW
Mexico Partnership and LANEY CATTLE COMPANY, a Nfew Mexico
Partnership and for their complaint against Defendants, the UNITE'D STATES
OF AMERICA; DAN GLICKMAN, Secretary of the United States Department
of Agriculture; and JACK WARD THOMAS, Chief of the U.S.]D.A. Forest

SerVice Would Show unto the Court the following:

 

 

 

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Plaintiff’s Original Petition for Declaratory Judgment

JURISDICTION AND VENUE FOR THE CASE

1. Jurisdiction in this Court over this action is established b
§ 1331 because this action is civil in nature and arises pursu
Constitution, laws or treaties of the United States. Additionally, ju
conferred on this Court by the Federal Declaratory Judgment Act,

2201.

2. Venue in this Court over these parties is established by

1391 (b)(2) and (e)(2) because the United States and an agency

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defendants Additionally, a substantial part of the events and omis

ions giving

rise to this action occurred in the Gila National Forest within the S ate of New

Mexico and all of the real property involved in this action is loc

Catron, Grant, and Sierra counties, New Mexico.

3. Diamond Bar Cattle Company and Laney Cattle Corr

exhausted all administrative remedies available for the attempted r

these controversies or, in the alternative, there are no adequate adr.

remedies available to resolve these issues. Without the interven

Court, Diamond Bar Cattle Company and Laney Cattle Company w

in violation of the law, and subject to the imposition of penalties, 01

valid existing rights violated.

PARTIES TG THE CASE

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Plaintiff DIAMOND BAR CATTLE COMPANY (]

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hereinafter

"Diamond Bar") is a New Mexico partnership authorized to do business, and

doing business, as a cattle ranch located in Catron, Grant,

counties, New Mexico. Kit and Sherry Laney are the owners of Di

and Sierra

,amond Bar

 

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and are responsible for the daily operations and overall financia
Diamond Bar. Diamond Bar is comprised of 115 acres of priva
owned in fee simple title by Diamond Bar as well as 146,470 acr¢
Reserve land located within the Gila National Forest. The Forest R

located within Diamond Bar is designated as the "Diamond Bar Al
the U.S.D.A. Forest Service.

5. Plaintiff LANEY CATTLE COMPANY (hereinafter "I

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lotment" by

Janey") is a

New Mexico partnership authorized to do business, and doing business, as a

cattle ranch in Catron County, New Mexico. Kit and Sherry Lal
owners of Laney and are responsible for the daily operations 2

financial success of Laney. Laney is comprised of 64 acres of priva

owned in fee simple title by Laney as well as 27,926 acres of Forest R

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located within the Apache National Forest. The Forest Reserve l

nd located

within Laney is designated as the "Laney Allotment" by the U.S. .A. Forest

Service.

6.

Defendant UNITED STATES OF AMERICA (hereinaft r "U.S.A.")

is the Federal government of the United States and is responsi le for the

creation, direction, and supervision of the United States Dep

Agriculture and the U.S.D.A. Forest Service.

7.

Department of Agriculture (hereinafter "Agriculture") and is resp

the direction and supervision of all operations and activities of A

including those actions taken by the U.S.D.A. Forest Service.

8°

Forest Service (hereinafter "Forest Service"), an agency within A

Defendant DAN GLICKMAN is the Secretary of the Un

Defendant JACK WARD THOMAS is the Chief of th

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and is responsible for the direction and supervision of all opel

activities undertaken by Forest Service.

9.
used in the Federal Declaratory Judgment Act. 28 U.S.C. § 2201.

There are no other interested parties to this action as th

NATURE OF THE CONTROVERSY

10. This action is brought seeking a Declaratory Judgmen
rights and other legal relations between Plaintiffs and Defendants.
substantial justiciable controversies which now exist between the pa

(A) The ownership, by Diamond Bar and Laney, o
permanent living water for proper maintenance of the cattle
Diamond Bar and Laney. Forest Service contends Diamond Bar
own no such water rights.

CB) The ownership, by Diamond Bar and Laney, of v
existing rights in the range for cattle raising purposes on the l
which Diamond Bar and Laney are located. Forest Service contend
Bar and Laney have no such rights in the range.

(C) The jurisdiction of Agriculture and Forest Se
Diamond Bar and Laney. Agriculture and Forest Service contend

the jurisdiction and authority to dictate the number of cattle whic]

Bar and Laney can raise, the improvements they can make, the

their herds, and any and all other management decisions of Diamor

Laney.

(D) The applicability of the State of New Mexico fenci
lands purchased by U.S.A. which are administered by Forest Servi

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Service contends it has no duty to comply with the State of New Me,
laws. § 77-16-1 NMSA 1978 (1993 Repl.)

FACTS OF THE CASE

The Ranching Origins

11. Diamond Bar traces its origins back to 1883 when 16 l

were established under the Homestead Act. Homestead Act of June

Stat. 413. The principal activity of all such homesteads was cattle r.

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qomesteads
2, 1862, 12

aising.

 

12. On December 28, 1886, Edwin D. Davisson, James R. M

re, Minter

A. Bailey, James A. Gill, and Thomas J. Moore incorporated th Diamond

Creek Land and Cattle Company and consolidated ten of the homestead

ranching units.

Diamond Creek Land and Cattle Company es ablished a

headquarters for its ranching operations on Diamond Creek. By he 20th of

January 1892 the Diamond Creek Land and Cattle Company wa raising at

least 2,000 head of cattle on What is now Diamond Bar. Diamond Bar is still

using the original Diamond Creek Land and Cattle Company head uarters for

its ranching operations.

13. Records show that the Diamond Bar brand for the purpo e of cattle

identification was already in use before 1889 by Frederick Newman o
of cattle. Upon consolidation of four homestead ranching units, Nev
into partnership with William D. Murray and Samuel McA1
established a headquarters for their ranching operations in Black C
February of 1892 Newman, Murray and McAnnish were raising a1
head of cattle under the Diamond Bar brand in the Upper Black Can;

Diamond Bar.

Diamond Bar is still using the original Blac

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headquarters for its ranching operations and the Diamond Bar brar

in continuous use for cattle identification purposes from 1889 until t

14. During the period 1897-1898 Hugh L. Hodge purc

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Newman Partnership and the Diamond Creek Land and Cattle Company and

consolidated them, along with other homestead ranching units, into one

operation named the Diamond Bar Ranch.

15. The Laney family began raising cattle on the public domain lands of

the United States adjacent to Luna, New Mexico beginning in 18
Laney family has continually utilized such lands for raising cattle

date.
The Water Rights

16. In 1866 the Congress of the United States recognized t
protect the interest of those who had legally appropriated water:

"Whenever, by priority of possession, rights to the use o
mining, agricultural, manufacturing, or other purposes h
and accrued, and the same are recognized and acknowled

local customs, laws, and the decisions of the courts, the pose

owners of such vested rights shall be maintained and prote
same;..." The Mining Act of 1866, 14 Stat. 253, July 26, 1866,

17. Recognition of these vested rights to the Water by U

supported by good and sufficient consideration, and such Vested ri;
water Were recognized by U.S.A. in order to further its gov

purposes.

18. Between 1883 and 1899 the original homestead rancl
Diamond Creek Land and Cattle Company, the Newman Partne
Diamond Bar Ranch purchased, claimed, and appropriated permal

water, pursuant to local customs, laws, and decisions of the Courts

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for the proper maintenance of at least 2,500 head of cattle on What is now

Diamond Bar.

19. Between 1883 and 1899 the Laney family purchased, claimed, and
appropriated permanent living water, pursuant to local customs, laws, and
decisions of the Courts, sufficient for the proper maintenance of at least 100
head of cattle on what is now Laney. Subsequent to 1899 the Laney family
purchased additional water rights in the open market sufficient for the proper

maintenance at least 475 head of cattle on what is now Laney.

20. The ownership of water rights by Diamond Bar and Laney are

determined by the laws of the State of New Mexico.

21. Diamond Bar is now the current legal owner and holder of valid
vested existing right to sufficient permanent living water for the proper

maintenance of up to(@ead of cattle on the range on which Diamond Bar is

located.

22. Laney is now the current legal owner and holder of valid vested

existing rights to sufficient permanent living water for the proper
maintenance of up -ead of cattle on the range on which Laney is located.

23. U.S.A., Agriculture, and Forest Service possess no vested valid
existing right to any permanent living water for cattle raising purposes on any
Forest Reserve lands, unless they have purchased those rights in the open

market like any other landowner.

24. U.S.A., Agriculture, and Forest Service possess no vested valid
existing right to any permanent living water for cattle raising purposes on

Diamond Bar or Laney.

 

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The Range Rights

25. In 1889 the Legislative Assembly of the Territory of New Mexico
recognized the need to protect the interest of those who had legally stocked the

range with cattle:

"Hereafter in the Territory of` New Mexico, any person, company, or
corporation that may appropriate and stock a range upon the public
domain of the United States, or otherwise, with cattle shall be deemed to
be in possession thereof; provided, that such person, company or
corporation shall_,lgwfully possess or occupy, or be the lawful owner or
possessor of sufficient living, permanent water upon such range for the
proper maintenance of such cattle." General Laws of New Mexico Ch.
61, § 1, February 15, 1889

26. Recognition of these vested rights in the range for cattle raising
purposes by U.S.A. were supported by good and sufficient consideration, and
such vested rights were recognized by U.S.A. in order to further its

governmental purposes.

27. The Congress of the United States approved such Territorial Act
and it became part of the laws of the State of New Mexico upon statehood in
1912 and is a current statute of the laws of the State of New Mexico today. § 19-
3-13 NMSA (1978).

28. Diamond Bar is now the current legal owner and holder of the valid
vested existing right in the range for cattle raising purposes on which

Diamond Bar is located.

29. Laney is now the current legal owner and holder of the valid vested
existing right in the range for cattle raising purposes on which Laney is

located.

30. Agriculture and Forest Service have refused to recognize the Valid

Vested existing rights to the water and in the range held by Diamond Bar and

 

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Laney, and have demanded Diamond Bar and Laney sign documents, and take
actions, which would waive, negate, diminish, and render ineffective such

valid existing rights.

31. Agriculture and Forest Service have no jurisdiction over the rights

to the water and in the range now legally held by Diamond Bar and Laney.

32. U.S.A., Agriculture, and Forest Service possess no vested valid
existing right in the range for cattle raising purposes on any Forest Reserve

lands, unless they have purchased those rights like any other landowner.

33. U.S.A., Agriculture, and Forest Service possess no vested valid
existing right in the range for cattle raising purposes on Diamond Bar or

Laney.

34. U.S.A. has passed no law since the original Valid existing rights to
the water and in the range vested, which have in any way diminished or
decreased the valid vested existing rights now owned by Diamond Bar and

Laney.

35. Any and all laws enacted by the Congress of the United States
applicable to Diamond Bar and Laney are subject to the valid vested existing

rights to the water and in the range now held by Diamond Bar and Laney.

36. Agriculture and Forest Service have promulgated no regulations
applicable to the valid Vested existing rights to the water and in the range

currently held by Diamond Bar and Laney.

37. Any and all actions undertaken by U.S.A., Agriculture, and Forest
Service are subject to the Valid vested existing rights to the Water and in the

range currently held by Diamond Bar and Laney.

 

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38. Any action taken by U.S.A., Agriculture, or Forest Service which in
any way diminishes, reduces, or extinguish the rights to the water and in the
range currently held by Diamond Bar and Laney would require the payment of
just compensation by U.S.A. for such taking. U.S. Const. amend V.

Forest Reserve Lands

39. The authority of the President of the United States to create Forest
Reserves from the public domain of the United States was established in 1891.
Creative Act of 1891 (Ch. 561 26 Stat. 1103; 16 U.S.C. § 471).

40. The purposes for which the lands withdrawn from the public
domain of the United States shall be utilized were established in 1897 . The
lands were reserved for the purposes of conserving the water flow and to
furnish a continuous supply of timber for the people, and no other. The lands
were not parks set aside for nonuse, but Were established for economic
reasons. Organic Administration Act of 1897 (Ch. 2, 30 Stat. 11, as amended: 16
U.S.C. §§ 473-475, 477-482, 551).

41. In 1899 President McKinley withdrew land from the public domain
of United States and created the Gila River Forest Reserve, within which
Diamond Bar and Laney were located. Presidential Proclamation of March 2,

1899.

42. The Legislature of the State of New Mexico has never approved the
removal of the Gila River Forest Reserve lands from the public domain of the

United States by U.S.A.

43. Prior to March 2, 1899, when the President of the United States
Withdrew land from the public domain of the United States to create the Gila

River Forest Reserve, the Diamond Bar and Laney rights to the Water and in

 

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the range for cattle raising purposes had already vested in their predecessors

in title.

44. Cattle raising had been an established historic use on the lands
Within the Gila River Forest Reserve now utilized by Diamond Bar and Laney
for over 16 years prior to the establishment of the Gila River Forest Reserve in

1899.

45. In 1905 the responsibility for administrating the purposes for which
the Forest Reserve lands had been withdrawn from the public domain of the
United States was transferred from the United States Department of Interior to
Agriculture, and Forest Service was established as that administrative

agency. Act of February 1, 1905, 33 Stat. 628.
The Open Market

46. The validity of the Diamond Bar and Laney's rights in the range for
cattle raising purposes, and the ownership of sufficient permanent living
water to properly maintain their cattle, have been recognized by the open
market in that they have been inherited, mortgaged, taxed, bought, and sold
since 1883,

47. Since establishment of cattle raising operations by the
homesteaders, the Newman partnership, Diamond Creek Land and Cattle
Company, and Diamond Bar Ranch in the late 1880's, what is now Diamond

Bar has always been bought and sold as a cattle ranching operation.

48. Since establishment of cattle raising operations by the Laney family
in 1883, what is now Laney has always been bought, sold, and inherited as a

cattle ranching operation.

 

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49. The rights owned by Diamond Bar and Laney have been essential to
every sale or purchase of the ranch properties which have taken place since
1883, Without the recognition of these rights by the open market, no sale of
these ranches would have ever taken place, and Diamond Bar and Laney

would have no value as ranching units today.

Forest Service Demands

50. Forest Service has demanded Diamond Bar reduce its herd to 300

head of cattle,

51. If Diamond Bar reduced the number of cattle being raised to 300
head it would completely destroy the economic viability of Diamond Bar.
Diamond Bar would be forced to default on its financial obligations to its
mortgage holder and other creditors, declare bankruptcy, and cease doing

business as an ongoing cattle ranching business,

52. Forest Service has consistently prevented Diamond Bar from
making the necessary and reasonable improvements dictated by range
conditions, even after Forest Service has ruled that such improvements are

necessary, appropriate, and would result in no significant impact.

53. Such demands made on Diamond Bar by Forest Service are so
fundamentally inconsistent with valid ranch management principles and
would place such a financially impossible burden on Diamond Bar that it must
be construed as an attempt by Forest Service to destroy Diamond Bar as a viable

ranching operation.

54. Forest Service has demanded Laney remove all its cattle from its

range for a period of one month.

55. Forest Service knows there is no place for Laney to put its cattle for

a period of one month.

 

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Plaintiff’s Original Petition for Declaratory Judgment

56. Such demand made on Laney by Forest Service is so fundamentally
inconsistent With valid ranch management principles and places such a
physically impossible burden on Laney that it must be construed as an attempt

by Forest Service to destroy Laney as a viable ranching operation.

57. For the past decade the acts and decisions of Forest Service in its
dealings with Diamond Bar have been arbitrary, capricious, manifestly
contrary to its statutory authority, in violation of` its contractual obligations,
fundamentally inconsistent with responsible ranch management, and in

Violation of the valid existing rights held by Diamond Bar.
The Fence

58. In early 1994, at the request of Forest Service, U.S.A. paid
$550,000.00 for 740.81 acres of private deeded land contiguous to 60 acres of

private deed land owned by Diamond Bar.

59. Forest Service has refused to properly fence such tract, as required

by State of New Mexico law. § 7 7-16-1 NMSA 1978 (1993 Repl.)

60. Forest Service has advised Diamond Bar that it must keep its cattle

off of such tract or be guilty of trespass and subject to penalty.

61. lt is the contention of Forest Service that it is not required to abide by
New Mexico fencing laws on property purchased by U.S.A. Which is

administered by Forest Service.

PROFESSIONAL FEES

 

62. Diamond Bar and Laney hereby incorporate by reference the

allegations contained in paragraphs 1-61 as if fully set forth herein.

 

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63. As a result of the wrongful acts of U.S.A., Agriculture, and Forest
Service, Diamond Bar and Laney have been required to retain legal counsel
and other professionals to advise them of their rights and to bring this action.
Diamond Bar and Laney are entitled to recover reasonable attorney fees and

other professional fees for trial and appeals of this action.

RELIEF REQUESTED

DIAMOND BAR and LANEY request that upon final hearing, this

Court award the following relief:

1. Declare Diamond Bar the valid lawful owner of permanent living
water sufficient for the proper maintenance of up to 2500 head of` cattle on the

range upon which Diamond Bar is located;

2. Declare Diamond Bar the valid lawful owner of the range for cattle

raising purposes upon which Diamond Bar is located;

3. Declare Laney the valid lawful owner of permanent living water
sufficient for the proper maintenance of up to 475 head of cattle on the range

upon which Laney is located;

4. Declare Laney the valid lawful owner of the range for cattle raising

purposes upon Which Laney is located;

5. Declare that Agriculture and Forest Service have no jurisdiction
over the rights to the water and in the range now held by Diamond Bar and

Laney;

6. Agriculture and Forest Service be permanently enjoined from
interfering with the valid existing rights to the water and in the range for

cattle raising purposes held by Diamond Bar and Laney;

 

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7. Agriculture and Forest Service be permanently enjoined from
interfering with or preventing normal, necessary, and prudent improvements

to the range used by Diamond Bar for cattle raising purposes;

8. Declare that the fencing law of the State of New Mexico is applicable
to U.S.A., Agriculture, and Forest Service on land purchased by U.S.A., and

order Forest Service to properly fence the 7 40.81 acre tract;

9. Award reasonable attorney's and other professional fees and costs;

and

10. Such other and further relief to which Diamond Bar and Laney
may be entitled.

RESPECTFULLY SUBMITTED,

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LARRY .lPATTON

P. O. Bo

Luna, New Mexico 87824
(505) 547-2609 <ph/fx)

Texas Bar No. 15629500

 

ATTORNEY FOR DIAMOND BAR
CATTLE COMPANY AND LANEY
CATTLE COMPANY

 

 

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